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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                      )           COURTROOM MINUTES - CRIMINAL
                                               )             BEFORE: JOHN F. DOCHERTY
                       Plaintiff,              )                 U.S. Magistrate Judge
                                               )
 v.                                            )    Case No:              22-cr-176 (JRT/ECW)
                                               )    Date:                 August 11, 2022
Benjamin Deandre Adams,                        )    Courthouse:           St. Paul
                                               )    Courtroom:            6A
                       Defendant.              )    Time Commenced:       2:42 p.m.
                                               )    Time Concluded:       2:49 p.m.
                                               )    Time in Court:        7 minutes

APPEARANCES:

 Plaintiff: Laura Provinzino, Assistant U.S. Attorney
 Defendant: Robert Meyers, Assistant Federal Public Defender
                        X FPD          X To be appointed

 Date Charges Filed: August 10, 2022                Offense: felon in possession of a firearm

 X Advised of Rights

on    X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Monday, August 15, 2022 at 11:30 a.m. before U.S. Magistrate Judge Becky R. Thorson in
St. Paul CR 3C for:
  X Detention hrg       X Arraignment

X Government moves to unseal the case.        X Granted

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                        s/nah
                                                                                     Signature of Courtroom Deputy
